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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

  IN RE: AMERICAN MEDICAL                          Civil Action No. 19-md-2904 (MCA)(MAH)
  COLLECTION AGENCY, INC.
  CUSTOMER DATA SECURITY BREACH
  LITIGATION                                         NOTICE OF VOLUNTARY DISMISSAL
                                                          WITHOUT PREJUDICE
  This Document Relates To: All Actions


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs identified

in Schedule 1 attached hereto, by and through their undersigned counsel, hereby voluntarily dismiss

without prejudice each claim against Defendants Quest Diagnostics, Incorporated and Optum 360.

Plaintiffs identified in Schedule 1 each reserve the right to proceed in this matter as absent class

members.

                                                     CARELLA, BYRNE, CECCHI,
                                                     OLSTEIN, BRODY & AGNELLO, P.C.
                                                     Counsel for Plaintiffs in the Johns Action
                                                     Interim Lead Counsel for Plaintiffs


                                                     By:     /s/ James E. Cecchi
                                                             JAMES E. CECCHI
Dated: July 2, 2020




                                                    SO ORDERED
                                                      s/Madeline Cox Arleo       .
                                                    MADELINE COX ARLEO, U.S.D.J.

                                                    Date: 7/30/20
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                                                          SCHEDULE1

Plaintiff                  CaseCaption                                            CaseNo.                Court
MistyMarler               Marlerv.QuestDiagnostics,Inc.                       8:19ͲcvͲ01091           C.D.Cal.
                                                                                   2:19ͲcvͲ16542ͲMCAͲMAH   D.N.J.
PaulaWorthey              Wortheyv.AmericanMedicalCollectionAgency,Inc.,   7:19ͲcvͲ05210           S.D.N.Y.
                           Optum360Services,Inc.,QuestDiagnostics             2:19ͲcvͲ16544ͲMCAͲMAH   D.N.J.
                           Incorporated,Does1Ͳ10

JorgeM.Fernandez,Jr.   Fernandezv.AmericanMedicalCollectionAgency,Inc., 2:19ͲcvͲ13398ͲMCAͲMAH   D.N.J.
                           Optum360Services,Inc.,QuestDiagnostics
                           Incorporated,andDoes1Ͳ10

HectorJ.Valdes          Fernandezv.AmericanMedicalCollectionAgency,Inc., 2:19ͲcvͲ13398ͲMCAͲMAH   D.N.J.
                           Optum360Services,Inc.,QuestDiagnostics
                           Incorporated,andDoes1Ͳ10

BrianLanouette            Lanouettev.RetrievalͲMastersCreditorsBureau,Inc., 7:19ͲcvͲ05216           S.D.N.Y.
                           Optum360,LLC,andQuestDiagnosticsIncorporated       2:19ͲcvͲ17046ͲMCAͲMAH   D.N.J.



TraciDianaJulin          Julinv.QuestDiagnosticsIncorporated                 2:19ͲcvͲ13446ͲMCAͲMAH   D.N.J.

JohannaA.Mayer           Mayerv.QuestDiagnostics,Inc.                        5:19ͲcvͲ01029           C.D.Cal.
                                                                                   2:19ͲcvͲ16543ͲMCAͲMAH   D.N.J.
MarkMeisel                Meiselv.AmericanMedicalCollectionAgency,Inc.,    2:19ͲcvͲ13484ͲMCAͲMAH   D.N.J.
                           Optum360Services,Inc.,QuestDiagnostics
                           Incorporated,andDoes1Ͳ10

ZakariaHaque              Meiselv.AmericanMedicalCollectionAgency,Inc.,    2:19ͲcvͲ13484ͲMCAͲMAH   D.N.J.
                           Optum360Services,Inc.,QuestDiagnostics
                           Incorporated,andDoes1Ͳ10

RobertOswald              Meiselv.AmericanMedicalCollectionAgency,Inc.,    2:19ͲcvͲ13484ͲMCAͲMAH   D.N.J.
                           Optum360Services,Inc.,QuestDiagnostics
                           Incorporated,andDoes1Ͳ10

LoriWeinrib               Meiselv.AmericanMedicalCollectionAgency,Inc.,    2:19ͲcvͲ13484ͲMCAͲMAH   D.N.J.
                           Optum360Services,Inc.,QuestDiagnostics
                           Incorporated,andDoes1Ͳ10

RobertCorwin              Meiselv.AmericanMedicalCollectionAgency,Inc.,    2:19ͲcvͲ13484ͲMCAͲMAH   D.N.J.
                           Optum360Services,Inc.,QuestDiagnostics
                           Incorporated,andDoes1Ͳ10


CindyFarber               Meiselv.AmericanMedicalCollectionAgency,Inc.,    2:19ͲcvͲ13484ͲMCAͲMAH   D.N.J.
                           Optum360Services,Inc.,QuestDiagnostics
                           Incorporated,andDoes1Ͳ10

FrancisCarbonneau         Carbonneauv.QuestDiagnosticsIncorporated            2:19ͲcvͲ13472ͲMCAͲMAH   D.N.J.

DeannaRahill              Rahillv.QuestDiagnostics                             2:19ͲcvͲ13510ͲMCAͲMAH   D.N.J.
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                                                              SCHEDULE1

Plaintiff                   CaseCaption                                           CaseNo.                Court
KaeshaGayeCamiliaHenry   Henryv.AmericanMedicalCollectionAgency,Inc.,    7:19ͲcvͲ05392           S.D.N.Y.
                            LaboratoryCorporationofAmericaHoldings,Quest     2:19ͲcvͲ16711ͲMCAͲMAH   D.N.J.
                            DiagnosticsIncorporated,Optum360,LLC,Bioreference
                            Laboratories,Inc.,andDoes1Ͳ50

PatrickRoggee              Roggev.QuestDiagnosticsIncorporated               2:19ͲcvͲ13648ͲMCAͲMAH    D.N.J.

TiffanyDough               Roggev.QuestDiagnosticsIncorporated               2:19ͲcvͲ13648ͲMCAͲMAH    D.N.J.

SeanDeMarco                DeMarcov.QuestDiagnosticsIncorporated             2:19ͲcvͲ05071            C.D.Cal.
                                                                                  2:19ͲcvͲ16685ͲMCAͲMAH    D.N.J.

MelissaRyan                Ryanv.QuestDiagnostics,Inc.                       3:19ͲcvͲ01098            S.D.Cal.
                                                                                  2:19ͲcvͲ16666ͲMCAͲMAH    D.N.J.

DanielRyan                 Ryanv.QuestDiagnostics,Inc.                       3:19ͲcvͲ01098            S.D.Cal.
                                                                                  2:19ͲcvͲ16666ͲMCAͲMAH    D.N.J.
RitzieKey                  Keyv.AmericanMedicalCollectionAgency,Inc.,     7:19ͲcvͲ05536            S.D.N.Y.
                            Optum360,LLC,QuestDiagnosticsIncorporated,and   2:19ͲcvͲ16984ͲMCAͲMAH    D.N.J.
                            Does1Ͳ10

MarkJohnston               Johnstonv.QuestDiagnostics,Inc.                   2:19ͲcvͲ13957ͲMCAͲMAH    D.N.J.

EricCinelli                Cinelliv.QuestDiagnosticsIncorporated             7:19ͲcvͲ05803            S.D.N.Y.
                                                                                  2:19ͲcvͲ16982ͲMCAͲMAH    D.N.J.
JoannaEggins               Cinelliv.QuestDiagnosticsIncorporated             7:19ͲcvͲ05803            S.D.N.Y.
                                                                                  2:19ͲcvͲ16982ͲMCAͲMAH    D.N.J.
SatoriaMonlyn              Cinelliv.QuestDiagnosticsIncorporated             7:19ͲcvͲ05803            S.D.N.Y
                                                                                  2:19ͲcvͲ16982ͲMCAͲMAH    D.N.J.

MorganOttmann              Allendev.LaboratoryCorporationofAmerica          1:19ͲcvͲ05989            S.D.N.Y.
                                                                                  2:19ͲcvͲ16703ͲMCAͲMAH    D.N.J.

JenniferRaben              Rabenv.QuestDiagnostics,Inc.                      1:19ͲcvͲ01889            D.Colo.
                                                                                  2:19ͲcvͲ16603ͲMCAͲMAH    D.N.J.
MichaelDeMarshall          DeMarshallv.Optum360,LLC,QuestDiagnostics      0:19ͲcvͲ01764             D.Minn.
                            Incorporated,andLaboratoryCorporationofAmerica 2:19ͲcvͲ16562ͲMCAͲMAH     D.N.J.
                            Holdings

MarkWoods                  MarkWoodsv.QuestDiagnosticsIncorporated          2:19ͲcvͲ05817            C.D.Cal.
                                                                                  2:19ͲcvͲ16689ͲMCAͲMAH    D.N.J.
GlennFrench                Frenchv.QuestDiagnosticsIncorporated              2:19ͲcvͲ14956ͲMCAͲMAH    D.N.J.


PeterD.Smith              Smithv.Optum360LLC,QuestDiagnostics           0:19ͲcvͲ01903             D.Minn.
                            Incorporated,andLaboratoryCorporationofAmerica 2:19ͲcvͲ16571ͲMCAͲMAH     D.N.J.
                            Holdings

EmilySmith                 Smithv.Optum360LLC,QuestDiagnostics           0:19ͲcvͲ01903             D.Minn.
                            Incorporated,andLaboratoryCorporationofAmerica 2:19ͲcvͲ16571ͲMCAͲMAH     D.N.J.
                            Holdings

DouglasDermody             Dermodyv.AmericanMedicalCollectionAgency,Inc.   5:19ͲcvͲ01235            N.D.Ala.
                                                                                  2:19ͲcvͲ16985ͲMCAͲMAH    D.N.J.
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                                                   SCHEDULE1

Plaintiff           CaseCaption                                             CaseNo.                Court
DanielaGoyer       Dermodyv.AmericanMedicalCollectionAgency,Inc.      5:19ͲcvͲ01235           N.D.Ala.
                                                                             2:19ͲcvͲ16985ͲMCAͲMAH   D.N.J.

HannahWeiss       Johnsv.BioͲReferenceLaboratories,Inc.,Laboratory   2:19ͲcvͲ16533ͲMCAͲMAH   D.N.J.
                    CorporationofAmericaHoldings,QuestDiagnostics,
                    Incorporated,andOptum360Services,Inc.



VickiJohns         Johnsv.BioͲReferenceLaboratories,Inc.,Laboratory   2:19ͲcvͲ16533ͲMCAͲMAH   D.N.J.
                    CorporationofAmericaHoldings,QuestDiagnostics,
                    Incorporated,andOptum360Services,Inc.



BrianLevy          Johnsv.BioͲReferenceLaboratories,Inc.,Laboratory   2:19ͲcvͲ16533ͲMCAͲMAH   D.N.J.
                    CorporationofAmericaHoldings,QuestDiagnostics,
                    Incorporated,andOptum360Services,Inc.


NaomiShapiro       Johnsv.BioͲReferenceLaboratories,Inc.,Laboratory   2:19ͲcvͲ16533ͲMCAͲMAH   D.N.J.
                    CorporationofAmericaHoldings,QuestDiagnostics,
                    Incorporated,andOptum360Services,Inc.


ErinTheresaGray   Grayv.LaboratoryCorporationofAmericaHoldingset 4:19ͲcvͲ00139             M.D.Ga.
                    al                                                     2:19ͲcvͲ17788ͲMCAͲMAH     D.N.J.
